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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION
                                                        §
   In re:                                               §   CASE NO. 18-40270-elm11
                                                        §
   TENET CONCEPTS, LLC,                                 §
                                                        §
                                                        §
                          Debtor.                       §   Chapter 11 Case


     OBJECTION TO PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT
      FILED BY JEFFREY LINES AND AMAZON PRIME NOW DELIVERY DRIVERS

       Jeffrey Lines (“Lines”), for himself and for similarly situated Amazon Prime Now Delivery

Drivers including, but not limited to, Willie J. Mukes and Valarie Miller (collectively “Drivers”) files

this Objection to confirmation of the Plan of Reorganization (the “Plan,” Dkt. 142) and final approval of

the Disclosure Statement (the “Statement,” Dkt. 143).

       The Plan and Statement generally assume that Debtor is entirely liable for all Drivers’ claims

against Amazon.com, Inc. and/or its affiliate Amazon Logistics, Inc. (collectively “Amazon”). However,

the indemnification clause at issue expressly “does not apply to the extent that any claim subject to

indemnification results from the negligence or willful misconduct of” Amazon.1 The Plan and Statement

are thus objectionable and inequitable to Drivers and other creditors and stakeholders to the extent that

they make Debtor liable to Amazon beyond Debtor’s contractual obligations. The Plan and Statement

further attempt to prejudice Drivers’ rights to pursue claims against Amazon even if those claims are

only based on Amazon’s negligence or willful misconduct and thus beyond the scope of Debtor’s

indemnification. Finally the Plan and Statement fail to fully pay Drivers’ claims and otherwise prejudice

their rights. Accordingly, Drivers lodge the following objections to the Plan and Statement.
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        1. Drivers Object to Section 4.4 of the Plan

        Section 4.4(a) of the Plan mistakenly claims that “Debtor has agreed to indemnify Amazon for

the Claims asserted against Amazon in the Lines Lawsuit.” In fact, the indemnification agreement “does

not apply to the extent that any claim subject to indemnification results from the negligence or willful

misconduct of” Amazon. As described in detail in Drivers’ objection to Amazon’s proof of claim (Dkt.

175), which Drivers incorporate fully herein, the “Claims asserted against Amazon in the Lines

Lawsuit” include claims based on Amazon’s own negligence and/or willful misconduct. Section 4.4.(a)

of the Plan is thus objectionable to the extent that it goes beyond Debtor’s indemnification obligations

and purports to pay Amazon’s claim even for elements of the Lines Lawsuit that are not covered by the

indemnification clause.

        2. Drivers Object to Section 4.6(a) of the Plan

        Section 4.6 of the Plan deals with claims based upon the claims asserted in the Lines Lawsuit.

Section 4.6(a) provides that “[n]o collective proof of claim shall be recognized as to any member of

Class 6” and that “[e]ach Creditor asserting a class 6 Claim must file an appropriate proof of claim on or

before the Bar Date.” The Lines Lawsuit expressly seeks collective damages for any Driver that opts in

according to the procedures set forth in the Fair Labor Standards Act. As explained in detail in Drivers’

response to Debtor’s Objection to Claim Number 11 (Dkt. 168), which Drivers incorporate fully herein,

the notice of the bankruptcy and the opportunity to file a claim in bankruptcy is not an adequate

substitute for a notice of a pending collective action under the FLSA and an opportunity to opt in. The

Lines Lawsuit is now pending before this Court as Adversary Case 18-04171. Any collective claims can

be adjudicated in that proceeding, and/or this Court can approve an adequate FLSA notice to Drivers

who potentially have collective claims in the Lines Lawsuit. To disallow all collective claims through


1
 See Exhibit A, Terms of Service, Exhibit B to Addendum to Proof of Claim of Amazon Logistics, Inc. (the “Indemnity
Agreement”) at Section 9.
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the Plan would be inequitable absent “timely, accurate, and informative” notice of the Drivers’ FLSA

claims. See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 172 (1989).

       3. Drivers Object to Section 4.6(b) of the Plan

       Drivers object to the seventy-nine (79) month installment payment term for Lines Lawsuit

Claims provided in Section 4.6(b) of the Plan. This payment term is unreasonably long and inequitable

in light of Section 4.4(a) making Amazon’s claims payable in monthly installments “as may be agreed

between the Debtor and Amazon.”

       4. Drivers Object to Section 4.6(c) of the Plan

       Drivers object that Section 4.6(c) purports to stay the entire Lines Lawsuit and provide for its

dismissal upon payment of any Allowed individual Claim held by Jeffrey Lines. Section 4.6(c) ignores

both that the Lines Lawsuit names Amazon as a defendant in addition to Debtor and that the Lines

Lawsuit includes collective claims as well as Mr. Lines’ individual claims. The Lines Lawsuit as against

Amazon for Amazon’s own negligence and/or willful misconduct should not be dismissed as a result of

Debtor’s paying its claims in full. Likewise, Drivers other than Mr. Lines should not have their

collective claims dismissed by virtue of any payment of Mr. Lines’ individual claims.

       5. Drivers Object to Section 12.5 of the Plan

       Section 12.5 of the Plan provides a temporary injunction in favor of a non-debtor party, Amazon,

as long as the Debtor is current on distributions on allowed claims against Debtor. As described in detail

in Drivers’ objection to Amazon’s proof of claim (Dkt. 175), which Drivers incorporate fully herein,

Drivers’ claims against Amazon for Amazon’s own negligence and/or willful misconduct are separable

from Drivers’ claims against Debtor and are not covered by Debtor’s indemnification agreement with

Amazon. There is thus no basis for enjoining Drivers from pursuing their claims against non-bankrupt




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third-party Amazon as part of Debtor’s Plan of Reorganization.2

        6. Drivers Object to the Statement’s Characterizations and Estimates of their Claims.

        Drivers object to the Statement’s estimate of the Lines Lawsuit Claims as belonging only to one

driver (Jeffrey Lines) and being valued in the range of $0-$800. The amounts of the Lines Lawsuit

Claims against Debtor will ultimately be decided by the Court through the claims process and/or through

the related adversary proceeding. As described in Lines’ and Drivers’ responses to Debtor’s objections

to their proofs of claims (Dkts. 167 & 168), which Drivers incorporate fully herein, the Class 6 Lines

Lawsuit Claims include both individual and collective claims in amounts well in excess of $800.

                                                   CONCLUSION

        For the foregoing reasons, the Drivers respectfully request that the Court sustain the foregoing

objections to the Plan and Statement and that the Court not approve any Plan of Reorganization that (i)

rejects Drivers’ claims without adequate adversary process and discovery, (ii) imposes liability on

Debtor beyond the scope of its indemnification obligations to Amazon; or (iii) prejudices Drivers’ right

to seek redress directly from non-bankrupt third-party Amazon for indemnified claims based upon

Amazon’s own negligence and/or willful misconduct.

Dated: December 14, 2018                                     Respectfully submitted,
Austin, Texas


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  To the Extent that the “Plan Injunction” contemplated by Section 12.3 of the Plan purports in any way to cover Drivers’
claims against Amazon for Amazon’s own negligence and/or willful misconduct, Drivers likewise object to Section 12.3 on
the same grounds as this objection to Section 12.5.

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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served via ECF upon

any parties who have filed a notice of appearance on December 14, 2018. Additionally, a copy was

served on the following individuals via electronic mail:

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                                                     /s/ Jay D. Ellwanger
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